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EXHIBIT 14
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From: Leslie R, DeMars (Leslie.R.DeMars@hitchcock. org] A Sunnie Donath, RPR, LCR
Sent: 5/14/2017 7:00:39 PM Oe coemeee compen
To: Edward J. Merrens (Edward.J.Merrens@hitchcock.org|

Subject: RE: RE] and Misty and the temperature of the department

Agree!

From: Edward J. Merrens <Edward.J.Merrens@hitchcock.org>
Date: May 14, 2017 at 12:40:35 PM EDT

To: Leslie R. DeMars <Leslie.R.DeMars@hitchcock.org>

Cc: Daniel P. Herrick <Daniel.P.Herrick@hitchcock.org>

Subject: RE: REI and Misty and the temperature of the department

Leslie,

\ didn't get back to you when you sent this on Friday but | think it's a comprehensive, thoughtful and appropriate insight.
Thanks for taking the time to do this. Ultimately once the dust settles, will be in a better position with all this, including
Misty

Best,

on

Lf

Edward J. Merrens, MD, MHCDS

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From: Leslie R. DeMars

Sent: Friday, May 12, 2017 5:59 PM

To: Edward J. Merrens <Edward.J.Merrens@hitchcock.org>

Ce: Daniel P. Herrick <Daniel.P.Herrick@hitchcock.org>

Subject: RE: REI and Misty and the temperature of the department

Yes, there has been an enormous backlash, mostly heartfelt based on Misty’s longevity, and with only a token nod to the
elephant in the room of her disruptive/splitting behavior that everyone has seen. They are angry and fearful that if
Misty could be terminated, any of us could be. Make no mistake though, that Misty hasn’t been contributing to those
emotions. The attitude toward Albert and David is mare to “don’t let the door hit you on the way out.” This has let
them get more focused on Misty. Everyone also is remembering Misty as a full time employee wearing 3 hats, and not
the one who has been out for almost 18 months. What she has done in these 18 months is help several members of the
department have babies, (no HIPPA violations here}

What's the talking point? My suggestion is “we are working with each physician on their employment options as weil as
what is best for DH and DH Ob/Gyn”. | don’t know how you say “I understand you are angry but this decision was made

in the best interests of the division and Misty.” Even if that’s the truth, no one will buy that at the moment.

Here’s my perspective, and maybe more than you want.

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The most desirable outcome for the department would be if Misty could continue to do ultrasound, and be a “worker
bee” in a new REI division. Daniel, Heather and | thought about the consequences of trying to do that knowing Misty’s
past behavior and her inability to just be a worker bee. While the current transition would be smoother, she would
undermine any efforts to have someone new come in and restart a program, and we would not have been able to
terminate the other two without cause, | don’t think.

The most desirable option for me, because Misty is my friend, is that she lands at UVM on a part time basis and Is able to
do REI and ultrasound the amount that she wants, stress free,

Misty is an internationally recognized gyn sonographer — | do think that she has more expertise in gyn than any of our
radiologists. Her value to the department would be in doing sono-hysterography, ultrasound guided endometrial
biopsy, evaluation of uterine or cervical fusion abnormalities in the context of pregnancy planning (septate vs bicornuate
uterus vs intra-uterine adhesions. She also was preparing to bring an international ovarian cancer screening study to DH
as the only site in the US. Much of her ultrasound volume however, is directly related to fertility/infertility

evaluations. Until that is up with new leadership, the ultrasound volume that would go to Misty is unclear. We can still
do many of these procedures still in 5L with our radiology colleagues doing the official reading. The techs are the key to
the ultrasound guidance.

This will substantially affect our department revenue/budget.

Whether a different REI will have as much gyn ultrasound expertise as Misty, probably not, but unless Misty is willing to
take a substantial cut in pay to do ultrasound only, it’s not feasible for the department. {t didn’t make sense for Jocelyn
to take her on in such a limited capacity either.

Misty’s medical disability has been devastating, and I’m not sure that she should ar will really every be able to do the
complex hysteroscopy or laparoscopy that she once did. That being said, there are a few full spectrum REI docs that
could bring similar surgical skills, but they are hard to find. | think that the best outcome of this termination is the
chance for Misty to actually be out on leave with no intervening responsibilities, so that she can assess how much
improvement she might gain.

What is the best case scenario for DH? This has been keeping me up at night for weeks. Misty is almost certainly going
to join the faculty at UVM in some capacity. What that capacity will be depends on how much her neurologic issues
resolve. Her behavior then becomes their problem. If she becomes full time faculty at UVM, and ff our separation
agreement could be worded to allow it, we then buy some of her time from UVM to do ultrasound here. She would be
joining UVM as a worker bee, because they already have a division director, but she would be medical director of ART,
I'm sure. As much as it hurts to say, it was the right decision to include her in the terminations, and | don’t want to
change that decision. If | had made a decision to try to keep her, | think that Heather, our nursing supervisor and our
admin supervisor would quit, because she has tried to intimidate each of them, and they are done with the behavior. If
she doesn’t really get better and can only work 16-20 hours a week, she will have to choose between ultrasound and
REI, and will be an effective teacher for the REI fellowship at UVM.

That's the only scenario that | can envision that Misty could be put into a box enough to keep her from being disruptive,
but would gain some serious good will points. While Misty is very hurt and angry, she would likely be open to future
discussion, and it becomes more of a decision over which she has some control, which is very important to her. She
would also respect a confidential discussion. | don’t even know if this scenario is possible or even smart, but I’m trying
to come up with something that makes a best case for all.

Re: “we are working with each physician on their employment options as well as what is best for DH and DH Ob/Gyn”.
Albert and David have already given me program names to call, and I will call them. I'll be honest.
Misty has so many close ties to UVM | can’t imagine that they won’t give her a job, because they have one open.

Sorry this was so long. | have been trying to figure out a way to soften the Misty message.

| also think that the anger will subside once the patients stop calling and sobbing/yelling. We also have patients who
have Misty made families calling in to express their shock, dismay, sadness, anger, and it’s taking a toll on everyone.

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In our communications planning, we missed Patient Relations. | think that they would have had a slightly different
message to start with.

tam also available to talk it through.

Ird

From: Edward J, Merrens

Sent: Friday, May 12, 2017 2:27 PM
To: Leslie R. DeMars

Cc: Daniel P. Herrick

Subject: REI and Misty

Leslie,

Iam getting inundated with heartfelt and long emails wondering why Misty can't stay on to do her ultrasound
complex operative and teaching role even if we end REI. I suspect that you considered this in the evaluation the
program and your knowledge of Misty. [just need to know how better to answer this question.

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